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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


THE CITY of PHILADELPHIA,

                  Plaintiff,

       v.                                         No.: 2:17-cv-03894-MMB

JEFFERSON BEAUREGARD SESSIONS III,
in his official capacity as Attorney General of
the United States,

                  Defendant.


BRIEF OF PHILADELPHIA SOCIAL AND LEGAL SERVICES ORGANIZATIONS AS
  AMICI CURIAE IN SUPPORT OF PLAINTIFF’S MOTION FOR PRELIMINARY
                           INJUNCTION
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                                    INTERESTS OF AMICI CURIAE

        Amici are eight non-profit civic organizations dedicated to serving the citizens of

Philadelphia by providing critical social services, community organization, individual advocacy,

and legal aid to the neediest segments of the Philadelphia community, including members of the

community who are undocumented immigrants or part of mixed-status families made up of

documented and undocumented immigrants and/or U.S. Citizens. A full description of Amici

organizations is provided in Attachment A.

                                              INTRODUCTION

        Amici have direct experience assisting Philadelphia’s immigrant communities through

the diverse and robust programs they sponsor. These programs help immigrants to vindicate

their rights as crime victims; provide immigrants access to important public benefits, health care,

and resources for which they may be eligible; ensure the safety of immigrant families from

domestic violence and child abuse; and advocate for immigrants to achieve safe and fair housing

and employment.

        Amici have seen first-hand the benefits of the City’s policies designed to embrace its

immigrant communities, including policies that prevent City employees from unnecessarily

collecting and disclosing its residents’ immigration information. 1 Those City policies have

boosted Amici’s efforts to serve effectively the region’s immigrant communities by allowing

Amici to assure their constituents and clients that contact with the City and its employees will

not ineluctably result in the disclosure of immigration information to federal officials. Without

1
  The City describes its policies to welcome and protect its immigrant communities in detail in its Memorandum in
Support of Motion for Preliminary Injunction, Doc. Entry No. 21-1, at 7-11 (Sept. 28, 2017). Those policies include
the Philadelphia Police Department’s practice of not routinely asking a persons’ immigration status in the course of
investigations or routine patrols and avoiding unnecessary disclosure of individuals’ immigration status. It further
includes the City’s “Confidentiality Order,” which directs city officers and employees, including police, to refrain
from collecting immigration information and to avoid unnecessary disclosure of any such information inadvertently
learned, as well as the City’s policies on compliance with federal immigration detainers and federal requests for
access to city prisons.


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that assurance, Amici are concerned that mixed-status and undocumented families and

individuals will recede into the shadows, making it difficult — if not impossible — for Amici to

provide services vital to the safety, health, and welfare of the entire community. Amici therefore

are concerned that the Department of Justice’s (DOJ) effort to impose new and unlawful

conditions on the City’s Edward Byrne Memorial Justice Assistance Grant (Byrne Grant) will

imperil the City’s current policies, which have been carefully designed to encourage its vibrant

and substantial immigrant communities to participate more fully in civic life.

       Because of the potential for irreparable harm if the City complies with the DOJ’s new

Byrne Grant conditions, the undersigned Amici urge this Court to grant Philadelphia’s motion

for a preliminary injunction.

                                         ARGUMENT

       Each of the undersigned Amici serve members of the immigrant communities in the City

of Philadelphia — a population that includes both documented and undocumented immigrants,

as well as mixed-status families made up of documented and undocumented immigrants and/or

U.S. Citizens. Amici have witnessed how the City’s welcoming policies have bolstered the trust

between immigrant communities and the City and its officials. When crime has struck members

of Philadelphia’s immigrant communities, Amici have played a critical role in supporting

immigrant victims in seeking justice for the harm they have suffered, including educating victims

and witnesses on their rights and responsibilities, affording victims an avenue to victims’

compensation programs, and enabling crime victims and witnesses to participate in the T and U

Visa programs that give immigration relief to certain crime victims who cooperate with law

enforcement.




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       Amici have seen a direct link between the City’s welcoming policies and their clients’

willingness to report crimes and participate in any ensuing prosecution. Those benefits are

particularly crucial for those members of the immigrant communities seeking legal protection

from domestic violence and abuse, where victims who are undocumented or part of mixed-status

families must overcome their fear of immigration consequences in addition to their fear of their

abuser before seeking legal protection or the assistance of police. Likewise, combating human

trafficking is an important law enforcement goal, and one that requires the trust and cooperation

of undocumented victims.

       Amici, moreover, have found that the City’s welcoming policies have more broadly

enabled them to identify individuals in immigrant communities in need of vital social services,

and to assist members of Philadelphia’s immigrant communities in asserting their legal rights not

only in the immigration context, but also to obtain unpaid wages, public benefits, health care,

and crime-victims’ compensation to which they are entitled.

       Amici believe that the City’s policies designed to protect and welcome immigrants are

critical to their own success in serving the community and join together in support of the City’s

Motion for Preliminary Injunction.

I.     AMICI HAVE SEEN A DIRECT CONNECTION BETWEEN THE CITY’S
       WELCOMING POLICIES AND CRIME VICTIMS’ WILLINGNESS TO
       REPORT CRIMES, COOPERATE WITH PROSECUTORS, AND THEREBY
       BENEFIT FROM STATE AND FEDERAL PROGRAMS DESIGNED TO ASSIST
       CRIME VICTIMS

       Amici Victim Witness Services of South Philadelphia (V/WSSP) and Women Against

Abuse (WAA) have witnessed a direct impact between the City’s nondisclosure policies and the

willingness of crime victims in Philadelphia’s immigrant communities to report crimes,

participate in any ensuing prosecution, and thereby render themselves eligible to receive state-

mandated victim’s compensation benefits, social services, and other rights to which they are



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entitled by Pennsylvania state law. Moreover, by encouraging crime victims to report crimes and

assist in their prosecution, Amici have helped many undocumented Philadelphians secure U and

T Visas, which allow victims of certain serious crimes and human trafficking to legally live and

work in the region.

       V/WSSP and other victim and witness services organizations can only effectively achieve

their missions if victims of and witnesses to crime trust the police and criminal justice system.

The Crime Victims Act confers substantial rights on victims of crime, including the right to be

notified of services available to victims, the right to be informed of significant actions and

proceedings in the victim’s case (see 18 P.S. §§ 11.201, 11.902), and even compensation (see 18

P.S. § 11.701(a)); however, in order to be entitled to these rights and benefits, the Act generally

requires victims to promptly report the crime and cooperate with the investigation. See 18 P.S.

§§ 11.707(a)(3), 11.901. Importantly, the Crime Victims Act does not distinguish between

undocumented immigrants and other victims of crime. See 18 P.S. § 11.103 (defining “Victim”).

       V/WSSP partners with the City to identify crime victims and helps victims benefit from

the Victim Compensation Assistance Program (VCAP), a program which provides compensation

to crime victims including reimbursement for medical and counseling bills, lost earnings, and

funeral expenses. Not only does V/WSSP’s work assist victims of crime, but it also assists the

broader Philadelphia community—because V/WSSP helps ensure that crimes are reported and

addressed, the City of Philadelphia as a whole is safer. Approximately 30 percent of V/WSSP’s

clients are immigrants. In the past year, V/WSSP assisted in the filing of 280 claims and

recovered over $200,000 for victims of crime, in addition to providing outreach and services to

over 1,400 victims, witnesses, and family members.




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         V/WSSP has worked hard to build trust with the many and varied immigrant

communities in South Philadelphia so that it can effectively connect these communities to

critical services. V/WSSP’s immigrant clients’ primary concern in deciding whether to work

with V/WSSP is whether they can trust the police and the criminal justice process. V/WSSP has

seen that crime victims in immigrant communities are forced to carefully weigh whether the

perceived benefits of cooperating with police and prosecutors will be eclipsed by the danger that

such cooperation will lead to their own investigation, apprehension, or deportation by federal

immigration officials.          V/WSSP is concerned that, by forcing the City to change its

nondisclosure policies, undocumented immigrants will be unwilling to face the increased risk of

deportation in the event that they come forward as victims.

         Amici have experienced how the threat of apprehension by federal immigration officials

impedes the Philadelphia Police Department’s ability to investigate crime and the ability of

victim services organizations to protect the rights of victims of crime. For example, a Latino

male in his 30’s was recently the victim of an aggravated assault. 2 The Philadelphia Police

Department made an arrest in the case, which proceeded to a preliminary hearing, but the victim

repeatedly failed to appear. A V/WSSP advocate was able to make contact with the victim, who

told the advocate that he had not gone to court because he was fearful that federal immigration

agents would be in the courtroom. Although the case was held for trial on other evidence, it

seems unlikely the prosecution will be able to successfully prosecute the case if the victim

continues to feel too threatened to appear in court.

         Similarly, a Latino male in his 20’s was walking home from his job at a restaurant with

two of his friends when he was attacked by a group of men who yelled racial slurs and beat him


2
  The anecdotes in this brief do not include the names or identifying characteristics of the individuals described
because of Amici’s concern that such information not be used adversely by immigration officials or others.




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in the head with a brick. He is still unable to eat solid food. An arrest was made in the case and

the victim has cooperated with the prosecution. The victim’s friends, however, who witnessed

the assault, told a V/WSSP advocate that they are too afraid to testify in the case because they

have heard that immigration agents wait for people outside the courtroom and they are not

willing to take that risk. These friends have discouraged the victim from testifying for the same

reason.

          But notwithstanding heightened fear and anxiety many immigrants feel as a result of the

federal government’s recent crackdown on undocumented immigrants, the City’s welcoming

policies continue to make immigrants more comfortable reporting crimes to the local police.

One member of the New Sanctuary Movement (NSM) has been mugged twice, once before the

enactment of the City’s current policies and once after. When he was mugged the second time,

the individual felt much more comfortable reporting the crime to the police. The victim relayed

that a police officer was dispatched, provided assistance, and never inquired about his

immigration status.

          Attorneys from Community Legal Services (CLS) have had similar experiences while

advising low-income Philadelphians, including undocumented immigrants, whether to seek

police assistance. CLS advocates report that their undocumented clients who are victims of

crime are often exploited and face wage theft, sexual harassment, and other labor abuses because

they are seen as uniquely vulnerable. Because of the City’s policies, CLS has the ability to refer

these clients to the police, which is critical for the safety of CLS’s clients, their families, and the

entire city.

          Cooperation with the criminal justice system also enables Amici HIAS Pennsylvania,

Nationalities Services Center (NSC), and Friends of Farmworkers (FOF) to aid undocumented




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Philadelphians who cooperate and become eligible for T or U Visas that can allow them to

legally remain and work here. T Visas are available to victims of human trafficking, while U

Visas are available to victims of other certain serious crimes. See 8 U.S.C. § 1101(a)(15)(T)-(U).

T and U Visas require immigrant victims of enumerated crimes to cooperate with police by

reporting and then assisting with the investigation of the crimes that were perpetrated against

them. During the last fiscal year, HIAS Pennsylvania opened 113 U-Visa cases, and since 2011,

FOF has identified over 100 victims of labor trafficking and has successfully secured T Visas for

50 victims and 63 of their family members so far, with many cases currently pending. Because

many T Visa applicants are parents of U.S. citizens, those cases stabilized the homes of 39

citizen children.

       Amici can attest to the tremendous courage required by victims at risk of deportation to

cooperate with police, and Amici have found that crime victims’ cooperation typically can only

be secured by assurances that they will not be automatically deported for reporting crimes to

local police and assisting police and prosecutors in ensuring that justice can be accomplished.

Under the City’s current policies, HIAS Pennsylvania, NSC, and FOF have found that

undocumented victims of crime, including victims of human trafficking, have been more willing

to cooperate with law enforcement and, as a result, become eligible for T and U Visa status. If

the City were to change its policies, however, the trust necessary to report and assist in the

investigation of human trafficking or other serious crimes — a prerequisite to T or U Visa

eligibility — would collapse.

       Because FOF and NSC serve clients throughout the Commonwealth, they know first-

hand how the variation in immigration enforcement policies across Pennsylvania impacts the

willingness of immigrant crime victims to speak out. FOF reports that, in the last year, the




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organization has assisted three victims of labor trafficking who were minors at the time of the

trafficking. One victim was forced to live and work in a factory in Philadelphia for years while

being paid below minimum wage.           The victim had serious concerns about reporting the

mistreatment to law enforcement. Victims of labor trafficking are often hesitant to report to law

enforcement because, among other things, their traffickers use the threat of reporting immigrant

victims to law enforcement as a means of exerting control over them. Ultimately, this victim

reported the crime to the Philadelphia Police Department with the assistance of FOF. Two other

child trafficking victims were assisted by FOF this year and only were willing to report the

trafficking crimes to the Philadelphia Police after discussing the City’s nondisclosure policies

with FOF.

       By contrast, in jurisdictions that do not have policies like Philadelphia’s to protect

undocumented immigrants, FOF has worked with numerous victims who have been unwilling to

report crimes to local law enforcement. Recently, FOF staff met with a group of immigrants

who live and work in another Pennsylvania county, and who reported that they and others were

repeatedly raped and assaulted at work by a supervisor. The victims are afraid of the potential

immigration-related consequences of reporting the crimes to law enforcement. Unfortunately,

the crimes took place in a jurisdiction that does not have policies like Philadelphia’s, and

therefore it is much less likely that the victims will feel safe reporting those very serious crimes

to local law enforcement. Where policies make undocumented immigrants fearful to report

criminal behavior to authorities, traffickers can continue to exploit Pennsylvanians without fear

of prosecution.

       A denial of the City’s requested relief may force the City to change its nondisclosure

policies — a change which would substantially undermine Amici’s ability to encourage crime




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victims to cooperate with city police, prosecutors, and employees in the prevention,

investigation, and prosecution of crime. Lifting, even temporarily, the City’s nondisclosure

policies, would damage hard-won credibility that Amici have forged with their immigrant

constituents, who trust Amici to work to improve the safety of all communities in Philadelphia.

And a mandate that the City must share victims’ and witnesses’ immigration information with

federal officials would create a strong deterrent for crime victims from cooperating with local

law enforcement. The volume of crimes perpetrated against immigrants reported to Amici in

only a one-year period conveys the public safety concerns at stake if those perpetrators would

remain free to terrorize Philadelphia’s neighborhoods without victims and witnesses cooperating

in their prosecution.

II.    UNDOCUMENTED VICTIMS OF DOMESTIC VIOLENCE FACE
       HEIGHTENED FEARS THAT THE CITY’S WELCOMING POLICIES HELP
       TO ALLEVIATE

       For victims of domestic violence within Philadelphia’s immigrant communities, a change

in City policy would have potentially profound consequences. Undocumented immigrants who

are victims of domestic and interpersonal violence face higher barriers to escaping abuse than

their non-immigrant counterparts due to immigration laws, language barriers, social isolation,

and lack of financial resources. The Women Against Abuse (WAA) Legal Center, which serves

a diverse population of domestic violence survivors, prioritizes clients who are immigrants and

those with limited English proficiency.      A WAA supervising attorney with expertise in

immigration serves approximately 20 immigrant victims of domestic violence each year, and has

experienced how the cloud of immigration consequences inhibits domestic violence victims’

ability to seek legal protection from abuse, and pursue criminal charges against their abusers.

The fear and isolation suffered by all victims of domestic violence is further heightened when the

victims or members of the victim’s family are undocumented immigrants — factors which allow



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abusers to leverage the risk of deportation to discourage their victims from reporting domestic

violence to police, requesting a PFA order, or seeking refuge with organizations like WAA.

Many WAA clients are only comfortable appearing in court to seek child custody or a PFA,

providing information to WAA, or calling authorities when threatened or abused by a partner

because of the assurance that the City and its employees will not affirmatively seek to turn over a

domestic violence victim and her information to federal immigration authorities. The City’s

nondisclosure policies thus allow organizations like WAA to gain the trust of domestic violence

victims and assist them in crafting safety plans that take into consideration their status as both

victim and immigrant.

        The experience of WAA’s staff, moreover, mirrors national studies on the special

challenges faced by immigrants who become victims of domestic violence and abuse. The

National Network to End Domestic Violence recently released key findings from the 2017

Advocate and Legal Service Survey Regarding Immigrant Survivors, and found “78 percent of

advocates reported that immigrant survivors expressed concerns about contacting police.

Similarly, three in four service providers responding to the survey reported that immigrant

survivors have concerns about going to court for a matter related to the abuser/offender. Finally,

43 percent of advocates worked with immigrant survivors who dropped civil or criminal cases

because they were fearful to continue with their cases.”3

        NSC’s experience show that victim’s fears of detention or deportation are not

unwarranted, particularly in jurisdictions that lack the policies that the City of Philadelphia has

enacted. For example, NSC represented an undocumented woman who resided in a county

outside Philadelphia and who had been abused by both her spouse and her family. When the

3
 2017 Advocate and Legal Service Survey Regarding Immigrant Survivors (National Network to End Domestic
Violence)available at http://www.tahirih.org/wp-content/uploads/2017/05/2017-Advocate-and-Legal-Service-
Survey-Key-Findings.pdf.




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woman reported the abuse to the police, she was arrested because she did not speak English and

the police could only get the abuser’s account of the abuse. Not only was the victim forced to

submit to criminal proceedings, but because the county did not have policies like Philadelphia’s,

even after the criminal charges were dismissed, the victim was transferred to federal immigration

custody and ended up detained and placed into removal proceedings. Although NSC was

ultimately able to help the victim obtain valid immigration status through the U Visa program,

that relief came only after the ordeal of arrest, detention, and temporary separation from her

child.

         Conversely, NSC represented an undocumented woman under similar circumstances in

Philadelphia, that resulted in a drastically different outcome. In that case, the Philadelphia

victim called the police to report abuse, and she also ended up being arrested based on her

abuser’s statement to the responding police officers at the scene. Once the true facts surrounding

the domestic abuse came to light, the criminal charges against the Philadelphia victim were

dismissed.     This time, however, the victim was released without detention by federal

immigration authorities and NSC was able to assist her application for a U Visa. Despite the fact

that both women were eligible for U Visa status under federal law, the victim that was not

protected by Philadelphia’s policies was forced to undergo the unnecessary and traumatic

experience of federal detention as a direct consequence of reporting her abuse.

         A repeal of the City’s policies that otherwise protect undocumented victims of domestic

violence from collateral immigration consequences could have potentially lethal effects: victims

will fear contacting authorities to report abuse and will hesitate to appear in family court to

obtain PFAs or to otherwise seek protective custody and housing rights. Conversely, if the City

were forced to accept the DOJ’s Byrne Grant conditions, the City’s clerks, social workers, and




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police officers would be empowered to collect information about domestic violence victims’

immigration status and to report that information to federal immigration enforcement agents — a

prospect which will surely lead to fewer immigrant victims of domestic violence seeking aid

from organizations like WAA and NSC. Such an outcome would lead to increased levels of

inter-partner violence and decrease the number of abusers who are prosecuted for their actions,

irreparably harming the citizens of Philadelphia.

III.   THE CITY’S WELCOMING POLICIES HAVE ENHANCED AMICI’S ABILITY
       TO CONNECT PHILADELPHIA’S IMMIGRANT COMMUNITIES WITH A
       BROAD RANGE OF SOCIAL SERVICES

       Amici have found that the City’s current policies provide broad social benefits that

extend well beyond the criminal justice system. The City’s policies have enabled Amici to assist

immigrant residents to enable them to participate in the City’s civic and economic life and obtain

access to critical health care resources and public benefits for which they are eligible.

       One anecdote illustrates broad-ranging benefits that the City’s welcoming policies have

had for Amici’s constituents. NSM relates that, as a result of the City’s policies, two of its

members — a husband and wife — have turned their unlicensed street-corner food sales into a

licensed food-cart business that enhances the community and the City’s economy. The couple

owns a small business selling Mexican food. Before the City put its current policies in place, the

couple was too frightened to register their business with the City for fear that the City would

alert federal immigration agents. As a result, the couple operated their business out of a cooler

and a shopping cart on a city street corner and would hide whenever police approached. After

the City enacted its current policies, the couple gained sufficient confidence to seek a business

and food license from the City’s Department of Licenses and Inspections.                    The couple

successfully registered their business with the City, and as a result, they were able to buy a small

food cart, and even hire another employee. The City’s policies thus encouraged this couple to



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transform their underground food business into one that may fully and legitimately participate in

the City’s community and economy.

       CLS advocates have further seen that the City’s policies have assisted its efforts in

obtaining health care for undocumented immigrants. CLS has observed that its undocumented

clients are often too fearful to access desperately needed health care, and sometimes even avoid

seeking emergency treatment for life-threatening illnesses out of concern that an emergency

room visit could alert federal immigration authorities to their undocumented status or their

whereabouts. Because of the City’s policies, CLS advocates have had success referring clients to

City health clinics for primary health care services, thereby preventing otherwise minor health

concerns from spiraling into more serious health concerns that require specialized medical care.

       CLS has also worked with the City directly to develop important community education

materials. For example, CLS has heard from its clients that many undocumented parents choose

not to apply for or to cancel Medicaid benefits for their eligible children for fear that federal

immigration officials can access the information in a Medicaid application and use it to detain

and deport the parent. However, CLS has been working to train benefits counselors at City

health centers and provide those counselors with information about privacy protections in place

at the County Assistance Offices. Such outreach programs improve the City’s ability to reach

and serve undocumented immigrants to allow them to access such critical health and educational

benefits.

                                        CONCLUSION

       There is no city in the country that is a “sanctuary” to an undocumented immigrant. At

any time, an unauthorized immigrant can be, and often is, detained and deported. The City’s

welcoming policies — particularly its policies prohibiting unnecessary collection and disclosure




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of immigration information — have assured the Philadelphia immigrant communities that the

local police will not simply turn a crime victim or witness over to federal immigration

authorities. Likewise, the City’s policies have given its immigrant communities confidence that

it may access City services, license businesses, or seek out health, immigration, and social

services to which they are entitled without fear of immediate immigration consequences. In this

way, the City’s carefully designed policies create a safer, healthier, and more cohesive city, and

enable social service and legal aid organizations like Amici to identify residents in need and to

serve the City’s immigrant communities in crucial, and at times life-saving, ways.

       Because a change in City policy would cause irreparable harm to those services and the

City, Amici urge this Court to grant Philadelphia’s requested relief.




Dated: October 19, 2017                     Respectfully submitted,

                                            /s/ Mark A. Kasten
                                            Ilana H. Eisenstein (No. 94907)
                                            Mark A. Kasten (No. 316387)
                                            Kristina Neff (No. 314295)
                                            DLA PIPER LLP (US)
                                            One Liberty Place
                                            1650 Market Street, Suite 4900
                                            Philadelphia, PA 19103-7300
                                            Telephone:        215.656.3300
                                            Facsimile:        215.656.3301

                                            Attorneys for Amici Curiae




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                                     ATTACHMENT A:
                              Description of Amici Organizations

        Community Legal Services (CLS) has provided free civil legal assistance to more than

one million low-income Philadelphians since it was founded by the Philadelphia Bar Association

in 1966, and is nationally recognized as a model legal services organization. In 2016, CLS has

represented over 9,100 low-income Philadelphians, whose families included 12,981 children.

CLS assists clients when they face the threat of losing their homes, incomes, health care, and

even their families. CLS attorneys and other staff provide a full range of legal services, from

individual representation, to administrative advocacy, to class action litigation.      CLS also

provides community education and access to social workers.

        CLS represents several hundred undocumented clients every year in a wide variety of

legal cases including employment, family law, eviction, utility shutoffs and health insurance. In

several areas of law, CLS attorneys have developed specialized expertise in legal issues that

particularly impact undocumented individuals and families. For instance, CLS represents many

undocumented workers whose employers improperly have withheld earned wages, have paid less

than minimum wage or have not paid legally required overtime.               CLS also represents

undocumented immigrants who are entitled to Medical Assistance coverage for critical health

needs but have been denied and represents undocumented parents in cases involving custody of

their children.

        Friends of Farmworkers (FOF) supports low-wage workers as they pursue economic

and social justice. For nearly 40 years, FOF has principally advanced its mission by providing

free legal representation on employment-related matters relevant to its client population, which is

largely made up of immigrant and migrant workers. In addition to direct representation, FOF

also engages in impact litigation and provide community education throughout Pennsylvania. A




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core aspect of its current work involves assisting victims of labor trafficking with the

immigration legal process and pursuing other civil legal claims on behalf of victims, both of

which require FOF to facilitate reporting of trafficking crimes to police. While FOF supports

low-wage workers across Pennsylvania, during fiscal year 2017, Philadelphia residents made up

20% of its caseload.

       HIAS Pennsylvania provides legal, resettlement, citizenship, and supportive services to

immigrants, refugees, and asylum seekers from all backgrounds in order to ensure their fair

treatment and full integration into American society. Driven by the Jewish value of “welcoming

the stranger,” HIAS Pennsylvania advocates for just and inclusive practices. HIAS Pennsylvania

provides representation and legal counseling before immigration agencies and courts; provides

resettlement and other social services to newly arriving immigrants, refugees, and those recently

granted asylum; and advocates for and educates the public about immigrant issues and rights.

       Nationalities Services Center (NSC) serves more than 5,000 immigrants and refugees

each year from 111 countries around the world. Based on the types of services provided to the

clients, NSC estimates that approximately half of their legal services clients are undocumented.

NSC is the largest non-sectarian organization in the Greater Philadelphia area which provides

comprehensive services in the areas of language access and proficiency, immigration legal

services, community transition and integration, access to health and wellness, and job readiness

training to immigrants and refugees. In the past five years, NSC has resettled more than 2,500

refugees from countries around the globe. In 2016, NSC staff attorneys served 1,164 primary

clients, excluding family members, with an array of services, including family-based petitions,

U-visas, naturalization, asylum, and other relief for victims of domestic violence. As the lead

agency in the Philadelphia Refugee Health Collaborative, last year, NSC’s Health and Wellness




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department provided health access services, including health screenings, medical appointments

and health insurance enrollment, for 1,608 clients. Furthermore, 501 survivors of torture were

served through the Philadelphia Partnership for Resilience.

       New Sanctuary Movement of Philadelphia (NSM) builds community across faith,

ethnicity, and class in its work to end injustices against immigrants regardless of immigration

status and to ensure that the values of dignity, justice, and hospitality are lived out in practice and

upheld in policy. Working with 26 congregations from the Latino, Indonesian and white citizen

communities, NSM implements its values and vision with three programs: Education, Grassroots

Organizing, and Accompaniment. NSM organizes congregations, educates and builds leadership

in Philadelphia’s immigrant communities, and engages allied members to stand in solidarity with

the immigrant communities and walk with families facing deportation to end unjust policies

while building more organized and empowered communities.

       The Pennsylvania Immigration & Citizenship Coalition (PICC) is a diverse coalition

of over 50 member organizations and hundreds of individual members. Its membership includes

community groups, social and legal service providers, advocacy organizations, faith

communities, community leaders, and concerned individuals.               Its mission is to advance

immigrants’ rights and promote their full integration into society by advocating with a unified

voice to enhance public understanding and encourage welcoming public policies throughout

Pennsylvania.

       Victim/Witness Services of South Philadelphia, Inc. (V/WSSP) was established in

1989 by religious and community leaders, police, and local politicians who recognized that crime

was having a devastating effect on neighborhoods, local business districts, and institutions. The

founders envisioned a community-based agency that would respond to problems unique to the




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communities of South Philadelphia.         V/WSSP provides direct services such as support

counseling; orientation to the criminal justice process; court accompaniment; social service

referrals; and assistance filing claims for the Victim Compensation Assistance Program (VCAP)

for medical and counseling bills, lost earnings and funeral expenses. V/WSSP has served over

60,000 people in the three South Philadelphia Police Districts since its inception.

          Women Against Abuse (WAA) is the leading domestic violence advocate and service

provider in Philadelphia. Women Against Abuse serves an average of 15,000 individuals each

year through its legal services, two 100-bed emergency safe havens, transitional housing,

community-based support, hotline counseling, trauma-informed behavioral healthcare, and

community education, technical assistance, and advocacy aimed at prevention. WAA operates

the only emergency shelter facilities devoted solely to victims of domestic violence in

Philadelphia. WAA provides critical services, such as legal representation and housing, to

victims of domestic violence in Philadelphia, including undocumented immigrants. The WAA

Legal Center provides free attorney representation, court advocacy and telephone counseling to

thousands of individuals each year in need of assistance in protection from abuse, child custody

and support matters to become safe from an abusive partner. WAA attorneys are experts in

Protection From Abuse (PFA) law and family court procedure, and the only service provider in

Philadelphia to staff the PFA courtrooms daily. WAA staff members also work closely with the

Department of Human Services, Philadelphia Police Department, and the Family Violence and

Sexual Assault Unit of the District Attorney’s office on both individual cases and systemic

issues.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was filed with the Court

electronically on the 19th day of October, 2017. Notice of this filing will be sent by operation of

the Court’s electronic filing system to all parties indicated on the electronic filing receipt. Parties

may access this filing through the Court’s system.




                                              By: /s/ Mark A. Kasten
                                                  Mark A. Kasten
